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UNITED STATES DISTRICT COURT
FOR THE M]DDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

THE UNITED STATES OF AMERICA
And THE STATE OF FLORIDA,
ex rel, DOUGLAS MALIE,

Plaintii‘fs,

Case No. 3:16-cv-1054-J-34MCR

FILED QHQER SEAL
FIRST COAST CARDIOVASCULAR
INSTITUTE, P.A.,

Defendant.

ORDEB
The United States, having intervened in this action pursuant to the False

Claims Act, 31 U.S.C. § 3730(b)(2) and (4) for the purposes of settlement, it is ordered
as follows:

1. With the exception of any applications filed by the United States for an

extension of the seal for purposes of investigation and legal memoranda in support

thereof, all other filed contents of the Court’s file in this matter be unsealed, be made

public, and served upon the defendant.

 

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2. The seal be lifted on all other matters occurring in this action after the
date of this Order.

DONE and ORDERED in Chambers, in Jacksonville, Florida on

QEZHM- l l ?2017.
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Rf

MoNTE’C. cHARDsoN
UNITED sTATEs MAGISTRATE IUDGE

 

Copy fumished to:

Shea M. Gibbons, AUSA

